                    UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                           1:22-cv-00070-MR

CHRISTOPHER ANTHONY JUDD,       )
                                )
              Plaintiff,        )
                                )
vs.                             )                                ORDER
                                )
QUENTIN MILLER, et al.,         )
                                )
              Defendants.       )
_______________________________ )

       THIS MATTER is before the Court on its own motion on Plaintiff’s

failure to respond to the Court’s Order for Plaintiff to notify the Court of his

new address and to either pay the filing fee or submit an Amended

Application to Proceed in Forma Pauperis. [Doc. 13].

       On April 1, 2022, Plaintiff filed a Complaint in this matter under 42

U.S.C. § 1983 and an application to proceed in forma pauperis (IFP).1 [Docs.

1, 2]. In Plaintiff’s IFP application, Plaintiff attested that he cannot pay the

cost of these proceedings because he is “in custody/no wages.” [Doc. 2 at

5]. On April 6, 2022, the Clerk entered an Order for a certified copy of


1Plaintiff purports to pursue his Complaint as a class action and names other detainees
as Plaintiffs in this action. [See Doc. 1 at 3]. The Court will address these other Plaintiffs
should it conduct initial review of Plaintiff’s Complaint.


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Plaintiff’s most recent trust fund account statement for the six (6) month

period immediately preceding the filing of the Complaint in accordance with

28 U.S.C. § 1915. [Doc. 4]. On May 16, 2022, the Clerk received Plaintiff’s

trust fund account statement from an attorney for Buncombe County. [Doc.

11]. The attorney advised the Court that Plaintiff was released from custody

on May 4, 2022. [Id. at 1]. The Court’s own research also suggested that

Plaintiff was released from custody. [See Doc. 13]. The Court concluded

that Plaintiff may no longer be eligible for IFP status and ordered that Plaintiff

had twenty-one days (21) to notify the court of his new address and to file an

amended application to proceed in forma pauperis. [Id.]. The deadline to

comply with the Court’s Order has expired and Plaintiff has not complied in

any respect. The Court will, therefore, dismiss this action without prejudice

for Plaintiff’s failure to prosecute.

      IT IS, THEREFORE, ORDERED that this action is DISMISSED without

prejudice for Plaintiff’s failure to prosecute.

      IT IS SO ORDERED.
                                        Signed: June 24, 2022




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